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   15
                           UNITED STATES DISTRICT COURT
   16                     CENTRAL DISTRICT OF CALIFORNIA
   17
         JAMAL JOHNSON, on behalf of              CASE NO.: 5:19-cv-02456-FMO-SP
   18    himself and all others similarly
         situated,                                CLASS ACTION
   19
                         Plaintiff,               NOTICE OF SETTLEMENT
   20

   21    vs.

   22    MOSS BROS. AUTO GROUP, INC.
         a California Corporation
   23

   24                   Defendant.

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    1         Plaintiff Jamal Johnson hereby notifies the Court that the parties have reached

    2   an agreement in principle to settle the litigated claims in this case on a class-wide
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        basis, subject to Court approval. The parties are presently drafting a written
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    5   Settlement Agreement and related documents, which the parties will endeavor to file

    6   with the Court as part of a Motion for Preliminary Approval by November 13, 2020.
    7
              Based on the foregoing, the Parties respectfully request that all current
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    9   deadlines be suspended and rulings on all pending motions be held in abeyance,
   10   pending the filing of the proposed Settlement Agreement.
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   12   Dated: October 29, 2020

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   14                                                Respectfully submitted,

   15                                                HIRALDO P.A.
   16
                                                     /s/ Manuel S. Hiraldo
   17                                                Manuel S. Hiraldo (pro hac vice)
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                                       NOTICE OF SETTLEMENT
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